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IN THE UNITED STATES DISTR_[CT COURT 510 \\\

FOR THE WESTERN DISTRICT OF TENNESSEE m 1 "j),, _} /O 00

  

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DEBRA BELL, ) if#`dEj/g£;f.
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Plaintiff, )
)
VS. ) NO. l-O4-lZ97-T
)
COMMISSIONER OF SOCIAL )
sEcURITY, )
)
Defendant. )

 

ORDER REVERSING COMMISSIONER’S DECISION

 

Plaintiff, Debra Bell, filed this action to obtain judicial review of the Defendant
Commissioner’s final decision terminating her disability insurance and supplemental security
income benefits, awarded on the basis of disability under Title II of the Social Security Act,
42 U.S.C. §§ 401 et seq. The Commissioner states that an earlier decision of the Social
Security Administration (“SSA”) found plaintiff disabled, due to injuries sustained in a car
accident, beginning on October 28, 1994.

On January 27, 2003, following a continuing disability review, SSA notified Plaintiff
that her disability had ceased because her condition had improved Plaintiff timely requested
a hearing before an administrative law judge (ALJ), which was held on April 28, 2004. On
July lO, 2004, the ALJ issued a decision finding that Plaintiff" s disability ceased as of March
of 2002, due to medical improvement related to her ability to perform substantial gainful

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activity. The Appeals Council denied Plaintiff"s request for review on October l, 2004.
Thus, the ALJ’s decision became the final decision of the Cornmissioner. Plaintiff filed her
complaint for review in this court on November 10, 2004, seeking reversal of the
Commissioner’s decision on the grounds that it is not supported by substantial evidence in
the record. For the following reasons, the Commissioner’s decision to terminate Plaintiff’ s
benefits is REVERSED.
Standard of Review

Judicial review in this Court is limited to determining whether or not there is
substantial evidence in the record as a whole to support the Cornmissioner’s decision, and
whether the correct legal standards were applied. w 42 U.S.C. § 405 (g); Richardson v.
P_rLles, 402 U.S. 389, 401 (1971); Her v. Commissioner of Soc. Sec., 203 F.3d 388, 389
(6th Cir. 1999). Substantial evidence is evidence that a reasonable mind would accept as
adequate to support a conclusion l_d_. The reviewing court may not resolve conflicts in the

evidence nor decide questions of credibility. Walters v. Qommissioner of Soc. Sec., 127

F.3d 525, 528 (6th Cir. 1997) (quoting Garner v, Heckler, 745 F.Zd 383, 387 (6th Cir.
1984)); Cutlip v. Secreta;y of Health and Human Serv., 25 F.3d 284, 286 (6th Cir. 1994).
In addition, if the decision is supported by substantial evidence, it should not be reversed

even if substantial evidence also supports the opposite conclusion Smith v. Chater, 99 F.3d

730, 782 (eth cir. 1996) (caing cunip, 25 F.3d ar 286).

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Plaintiff was injured in a car accident on October 28, 1994, Plaintiff’ s injuries
included a broken right humeral tuberosity and multiple facial fractures. Tr. at 118. She
underwent surgery and, upon discharge from the hospital, Was diagnosed with
zygomaticomaxillary fracture, right comminuted; orbital floor blow out fracture, right; and
mandibular conder fracture, right. Tr. at 118-19.

In November of 1994, Plaintiff was seen by Dr. Lents for a follow-up examination
Dr. Lents diagnosed ocular contusion and stable status post blowout fracture repair. Tr. at
119. Since November of 1994, Plaintiff was seen by Dr. Randy Fly on a regular basis.
Plaintiff complained to Dr. Fly of shoulder pain and stiffness on numerous occasions. Tr.
at 1 l9. In August of 1995, Dr. Fly opined that Plaintiff was capable of lifting no more than
ten to fifteen pounds and could not perform any overhead Work or repetitive lifting above
the shoulder level. Tr. at 119. Dr. Fly also opined that Plaintiff had a nine percent
impairment of loss of range of motion and imposed restrictions based on his findings Tr.
at ll9.

In August of 1996, Plaintiff was seen by Dr. Barney L. Freeman. Plaintiff
complained of pain in the right shoulder. Tr. at 119. Dr. Freeman observed tenderness to
palpation about Plaintiff’ s shoulder and a marked positive impingement test. Tr. at 119.
Plaintiff’ s shoulder could not be examined for instability because of pain and guarding. Tr.

at 119. Dr. Freeman diagnosed chronic pain in the right shoulder secondary to the motor

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vehicle accident and opined that her condition was likely to be permanent Tr. at l l 19. In
addition, Dr. Freeman’s notes indicated that he agreed with the limitations and restrictions
as assessed by Dr. Fly. Tr. at 119.

In December of 1996, Plaintiff was seen by Dr. Karl E. Misulis of the Semmes-
Murphy Neurological & Spine Institute in Humboldt, Tennessee, for a consultative
examination Dr. Misulis noted that Plaintiff had obvious changes and decreased movement
of the right side of the mouth, muscle spasm of the cervical paraspinals and trapezius on the
right side, difficulty upon elevation of the right arm, marked limitation of even passive
motion around the shoulder j oint, and neuropathic pain radiating to the right arm. Tr. at 1 19.
Dr. Misulis opined that Plaintiff was capable of lifting/carrying no more than ten pounds,
that she was not capable of climbing or balancing, and that she had affected ability to reach,
handle, feel, push or pull. Tr. at 119.

At Plaintiff"s hearing before ALJ Hubert E. Graves on September 26, 1996, she
testified that she was in constant pain and that she was unable to work because of constant
pain. Tr. at 120. Specifically, she stated that she was able to lift the weight of a milk j ar,
sit for forty-five minutcs, and stand for two to three hours. Tr. at 120. Plaintiff also stated
that she was only able to write for approximately ten minutes before her arm starts shaking.
Further, she stated that sitting exacerbated her shoulder pain. Tr. at 120. On these facts,
ALJ Graves determined that Plaintiff was disabled as of October 28, 1994.

After she was determined to be disabled, Plaintiff was seen by Dr. Jackie Taylor at

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Northside Medical Clinic in Jackson, Tennessee, on numerous occasions. On April 4,
1997, June ll, 1998, December l, 1999, June 3, 1999, April 12, 1999, June l, 2000, and
December 13, 2001, Plaintiff complained of pain in her right shoulder. Tr. at 142, 143, 145,
146, 148, 150, 151-52. Her visit on June ll, 1998 was prompted because of Plaintiff"s
attempt to lift furniture over the weekend. Tr. at 148. Dr. Taylor noted that Plaintiff’s
shoulder was tender and that she had decreased range of motion during her April 4, 1997,
June ll, 1998, April 12, 1999, and December 1, 1999 visits. Tr. at 142, 146, 148, 150,
Plaintiff’s neurological examinations were intact, however, during these visits. Tr. at 142,
146, 148, 150, In addition, Dr. Taylor stated that Plaintiff was doing “well” and “better”
after being placed on the medication Oxycontin. Tr. at 142, 146.

Dr. Lee M. Carter took over as Plaintiff"s primary care physician from 2002 until
2004. Plaintiff complained of chronic pain in the right shoulder and arm on multiple office
visits. Tr.at179,180,183, 186,187,188,190,192,193,194,196,197,200, 204, 206, 207,
209, 211, 216, 217. Dr. Carter documented an initial decrease in range of motion in her
right arm and no acute changes thereafter. Tr. at 217. On August 14, 2002, and February
6, 2003, Dr. Carter noted that Plaintiff" s right shoulder pain was “stable.” Tr. at 204, 216.
On May 6, 2003, Dr. Carter opined that “[t]he right shoulder pain is doing ok with
worsening episodically with weather fronts.” Tr. at 197. Plaintiff' s last visit to Dr. Carter’s
office was on April 27, 2004. As a result of that visit, Dr. Carter stated that Plaintiff’ s pain

was “still in poor control overall.” Tr. at 178.

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On March 19, 2002, Dr. Donita Keown performed a consultative examination on
Plainfiff. Plaintiff complained of facial deformities, neck pain, chronic shoulder pain, and
numbness of the right hand and right leg. Tr. at 162. Dr. Keown’s opinions were based
solely on conversations with Plaintiff and her examination of Plaintiff. Tr. at 162. Dr.
Keown did not have access to notes from Plaintiff’ s treating physician or any notes related
to her medical history. Tr. at 162.

After examining Plaintiff, Dr. Keown opined that she had no positive impingement
sign, and that her range of motion on the right shoulder on forward elevation was to 150
degrees, abduction was to 100 degrees, and rotation was to 90 degrees Tr. at 164. Dr.
Keown further opined that Plaintiff showed no clear evidence of loss of motor strength in
her right arm or hand and that she had no evidence of impairment due to a previous facial
reconstructive surgery. Tr. at 165. Further, Dr. Keown opined that Plaintiff could sit, stand
or walk at least six hours in an eight-hour day and that she could routinely lift ten to fifteen
pounds and occasionally lift twenty-five to thirty pounds. Tr. at 165. However, Dr. Keown
noted weakness on the lower right eyelid, atrophic changes in the muscles of the right orbit,
decreased range of motion, and pain on manipulation of the right shoulder. Tr. at 163-64.
Dr. Keown also noted that Plaintiff’ s effort on examination was less than ideal and that she
gave poor effort on motor strength examination with her right arm. Tr. at 163-64.

On March 20, 2003, Plaintiff was seen by Dr. Misulis for right arm weakness. Dr.

Misulis noted that she had sharp pain going down her elbow to the back of her neck, that she

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was having difficulty with her right hip, that she had decreased sensory hinction on her arm,
that she had lost feeling in multiple fingers on her right hand, and that she possibly had a
slight antalgic component to her gait. Tr. at 223. Dr. Misulis also noted that Plaintiff’s
“strength is characterized by decreased effort rather than frank paralysis.” Tr. at 223. An
electrodiagnostic test performed by Dr. Misulis showed no signs of nerve damage in
Plaintiff’s arm. Tr. at 219-20. However, on March ll, 2004, Dr. Misulis stated that
“[w]hen she needs forms filled out for disabilityl will be happy to do so, since she is really
not improved to the point where she is able to do everything she needs to do.” Tr. at 225.

On April 28, 2204, Plaintiff testified at an administrative hearing before ALJ John
J'. Schule III. Plaintiff testified that she suffered from nerve damage in her arm and face and
pain in her shoulder, neck, and under her arm. Tr. 246, 247, 248. Plaintiff stated that she
could not work without taking powerful pain medications, but that the pain medications
prevented her from being able to work. Tr. at 248-50. Plaintiff also stated that no one will
hire her because of all the restrictions imposed on her by her doctor as a result of the
accident Tr. at 243.

On July 10, 2004, the ALJ determined that Plaintiff was not disabled. ln particular
ALJ Schule found that: (1) Plaintiff was disabled within the meaning of the SSA on March
24, 1997 with an October 28, 1994 onset date, and that she has not engaged in substantial
gainful activity since that datc; (2) medical evidence establishes that Plaintiff currently has

chronic pain in the right upper extremity with mild degenerative disc disease of the cervical

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spine; (3) the medical evidence establishes that Plaintiff does not have an impairment or
combination of impairments Which meets or equals the severity of impairments listed in
Appendix 1, Subpart P, Regulations No. 4; (4) the impairments present as of March 24,
1997, the time of the most favorable medical decision that Plaintiff was disabled, were right
facial deformity and chronic pain of the right shoulder; (5) the medical evidence establishes
that there has been improvement in Plaintiff" s medical impairments since March 24, 1997;
(6) this medical improvement is related to Plaintiff"s ability to work; (7) the medical
evidence establishes that Plaintiff currently has an impairment or combination of
impairments which is severe; (8) Plaintiff' s testimony and allegations are not fully credible;
(9) Plaintiff has the residual functional capacity to lift twenty pounds occasionally and ten
pounds frequently; she can sit, stand, or walk for six hours, and she can frequently reach
above shoulder level on the right; (10) Plaintiff cannot perform her past relevant work; (l l)
Plaintiff is a “younger individual” as defined in 20 C.F.R. § 404.1563; ( 12) Plaintiff has a
“limited education”as defined by 20 C.F.R. § 1564; (13) considering the range of work at
all levels that Plaintiff is still functionally capable of performing, in combination with her
age, education, and work experience, and using Rule 202.18 of the Medical-Vocational
Guidelines as a framework for decision-making, Plaintiff is not disabled; and ( 14) Plaintiff` s

disability ceased in March of 2002. Tr. at 17-18.

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Analysis

The Social Security Act defines disability as the inability to engage in substantial
gainful activity. 42 U.S.C. § 423(d)(l). Thus, an award of benefits may not be terminated
unless the Commissioner finds substantial evidence that there has been medical
improvement in the claimant’s impairments, and that the claimant is now able to engage in
substantial gainful activity. In such termination proceedings, the ultimate burden of proof
lies with the Commissioner. Nierzwick v. Comm’r of Soc. Sec., 7 Fed. Appx. 358, 361 (6th
Cir. 2001).

The determination of whether a claimant remains disabled is made according to a
sequential analysis, as set forth in 20 C.F.R. § 404.1594 and § 416.994. However, in this
case, the primary issue to be considered is whether there has been any medical improvement
in Plaintiff’s condition. Medical improvement is defined as:

any decrease in the medical severity of your impairment(s) which was present

at the time of the most recent favorable medical decision that you were

disabled or continued to be disabled, A determination that there has been a

decrease in medical severity must be based on changes (improvement) in the

symptoms, signs and/or laboratory findings associated with your

impairment(s) . . . .

§ 416.994(b)(1)(i). If there has been medical improvement, it must then be determined
whether that improvement relates to the claimant’s ability to do work, as demonstrated by
an increase in residual functional capacity. § 416.994(b)(1)(ii)-(iii).

In the present case, the ALJ’s determination that Plaintiff"s medical condition has

improved Was based on Dr. Keown’s findings, rather than those of her treating physicians,

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and by discrediting her subjective complaints of pain. Plaintiff argues that the ALJ’s
decision is contrary to law and that Comrnissioner has not met its burden.
1. Treating Physician Rule

The opinion of a treating physician must be given great weight when it is supported
by sufficient medical evidence. E 20 C.F.R. § 404.1527(d)(2). Under the treating
physician rule, opinions of physicians who have treated the plaintiff receive controlling
weight if they are “well-supported by medically acceptable clinical and laboratory diagnostic
techniques” and “not inconsistent with the other substantial evidence in [the] case record.”
ch The ALJ may reject opinions that are not supported by the medical findings and resolve
conflicts in the evidence §§ M, 127 F.3d at 529-30 ;Mp, 25 F.3d at 286-87; @gl_e
v. Sullivan, 998 F.2d 342, 347-48 (6th Cir. 1993); Cohen v. Secretary of Health & Human

Servs., 964 F.2d 524, 528 (6th Cir.1992); Young v, Secretary of Health and Human Serv.,

925 F.2d 146, 151 (6th Cir. 1990); Hall v. Bowerr, 837 F.2d 272, 276 (6th Cir. 1988);
Hardaway v. §ecretag; ofHealth & Human Servs., 823 F.2d 922, 927 (6th Cir.1987). If the
adjudicator finds that a treating physicians’ conclusion is not well-supported by medically
acceptable clinical and laboratory diagnostic techniques or is inconsistent with other
substantial evidence in the medical record, he is required to apply the following factors in
determining how much weight to give a treating physician: “the length of the treatment
relationship and frequency of the examination, the nature and extent of the treatment

relationship, supportability of the opinion With the record as a whole, and the specialization

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ofthe treating source....” Wilson v. Comm’r of Soc. Sec., 378 F.3d 541, 544 (6th Cir. 2004)
(citing 20 C.F.R. § 404.1527(d)(2)) (emphasis added).

In the present case, the ALJ found that the opinions of Plaintiff’ s treating physicians,
Drs. Taylor, Carter, and Misulis, were not supported by medical evidence in the record. Drs.
Taylor, Carter, and Misulis all submitted medical evidence and assessments which indicated
that Plaintiff was only capable of less than the full range of sedentary Work. First, the ALJ
noted that Dr. Taylor observed that Plaintiff was doing “well” or “better” on two occasions
in 1999 and that Dr. Carter stated that Plaintiff’s condition was “stable” in 2002, The ALJ
failed to mention, however, that Dr. Taylor stated that Plaintiff was doing better only after
taking Oxycontin and that Dr. Carter’s opinion that Plaintiff was “stable” was followed four
months later by an observation that she had some decreased range of motion in her right arm.
Dr. Carter had also noted that Plaintiff was not pain free, was only able to maintain fair to
moderate function on her medication, and that her shoulder was “doing ok” but worsened
when the Weather changed Thus, Drs. Taylor’s and Carter’s notes that Plaintiff was doing
“well,” “better,” or “stable,” when taken in context, do not undermine their opinions that
Plaintiff is disabled,

Next, the ALJ dismissed Dr. Misulis’ opinion that Plaintiff Was disabled because an
electrodiagnostic test did not establish that Plaintiff had suffered nerve damage in her arm.
He also found fault in Dr. Misulis’ conclusion because he had not ordered further testing of

Plaintiff’s condition. Plaintiff argues that further testing Was not ordered because her

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disability benefits had been terminated and she was unable to afford any additional testing
or substantial treatment. In addition--given the length and volume of Plaintiff"s medical
records, the number of times that Dr. Misulis treated Plaintiff from 1996 until 2004, and Dr.
Misulis’ specialty in neurology--the absence of conclusive evidence of nerve damage from
one test does not warrant discrediting Dr. Misulis’ opinion that Plaintiff is disabled,

Because the opinions of Drs. Taylor, Carter, and Misulis are well-supported by
medically and acceptable clinical and laboratory diagnostic techniques and are not
inconsistent with other substantial evidence in the record, the ALJ should have given
Plaintiff’ s treating physicians’ opinions controlling weight. As such, the ALJ should have
found that Plaintiff was only capable of less than the full range of sedentary work.

Even if the ALJ found that Plaintiff' s treating physicians’ opinions were not well-
supported by the medical record or were inconsistent with other substantial evidence on the
record, he must still consider the aforementioned factors when deciding how much weight
to give the opinion of Dr. Keown, a consultative physician. The ALJ’s reliance on Dr.
Keown’s opinion overlooks the fact that Dr. Keown did not have access to Plaintiff’ s
medical record, Her notes stated that “there are no notes enclosed from her treating
physician or any notes about her medical history for review today." Tr. 162, 165. Thus, Dr.
Keown’s findings were based solely on a one-time examination of Plaintiff. If Dr. Keown
was able to review Plaintiff’s medical records when taking into account her subjective

complaints of pain, Dr. Keown could have reached a different conclusion. As such, the ALJ

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erred by giving Dr. Keown’s opinion controlling weight
2. Plaintiff’ s Subjective Complaints of Pain

Plaintiff also maintains that the ALJ failed to properly credit her subjective
complaints of pain. At her hearing With the ALJ, Plaintiff testified that she suffers from
nerve damage in her arm and face and pain in her shoulder, neck, and under her arm.
Plaintiff stated that she could not Work without taking powerful pain medications, but that
the pain medications prevented her from being able to work. Plaintiff also stated that no one
will hire her because of all the restrictions imposed on her by her doctor. The ALJ found
Plaintiff s testimony and allegations not to be fully credible.

The court must evaluate the ALJ's findings with regard to pain in light of applicable
case law and Social Security Ruling ("SSR") 88-13. SSR 88-13 requires more than mere
allegations ofpain. The objective medical evidence must confirm an underlying impairment
and the severity of the alleged symptoms, or establish that the impairment is of a severity that
could reasonably give rise to the alleged symptoms. § Blacha v. Secretary of Health and
Human Serv., 927 F.2d 228, 230 (6th Cir. 1990); Duncan v. Secretary of Health and Human
_S_,_§rL, 801 F.2d 847, 852-54 (6th Cir. 1986). In addition, when a claimant alleges fully
disabling pain, the "ALJ may distrust [the] claimant's allegations . . . if the subjective
allegations, the ALJ's personal observations, and the objective medical evidence contradict
each other." Moon v. Sullivan, 923 F.2d 1175, 1182-83 (6th Cir. 1990).

In discrediting Plaintiff’s subjective complaints of pain, the ALJ found her not to be

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credible because Dr. Keown noted that her effort on examination was less than ideal and Dr.
Misulis stated that her effort decreased on physical examination However, the ALJ
determined that the medical evidence in the record supported Plaintiff’s claim that she
suffers from chronic pain in the right upper extremity and mild degenerative disc disease of
the cervical spine. While these impairments did not meet or equal the severity of
impairments listed in Appendix 1, Subpart P, Regulation No. 4, the ALJ did conclude that
her impairments were “severe.” Tr. at 18.

When taking into account the nature of Plaintiff’ s injury, the length of time that she
has been treated, and the amount of medical evidence supporting her contention that she has
disabling pain in her shoulder, arm, face, and neck, there is substantial objective evidence
in the record to support Plaintiff’s claim. Because the Commissioner has the burden of
proof in benefit termination cases, the ALJ erred by discrediting Plaintiff s subjective
complaints of pain. Two statements that Plaintiff was not giving full effort, by themselves,
are not enough to meet this burden.

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For the foregoing reasons, the Court finds that the ALJ’s conclusion that Plaintiff’s
physical impairments have medically improved is not supported by substantial evidence, and
is contrary to law. Therefore, it is unnecessary for the Court to address the ALJ’s findings
regarding her residual functional capacity. Accordingly, the Commissioner’s decision to

terminate Plaintiff’s benefits is REVERSED with instructions to reinstate those benefits.

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The Clerk of Court is directed to prepare a judgment

IT IS SO ORDERED.

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JA . TODD
UN ED STATES DISTRICT JUDGE

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DATE 0

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STATES DISTRICT oURT - WESTRNE DIS"'RIT oF TNNESSEE

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